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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                VICTORIA DIVISION


 STATE OF TEXAS,

                Plaintiff,

 v.
                                                    Civ. Action No. 6:21-cv-00003
 The UNITED STATES OF AMERICA, et al.

                Defendants,

 FIEL HOUSTON and REFUGEE AND
 IMMIGRANT CENTER FOR EDUCATION
 AND LEGAL SERVICES,

             Intervenor-Defendants.



 STIPULATION OF ALL PARTIES TO VOLUNTARY DISMISSAL OF THIS ACTION

       Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii), Plaintiff State of Texas, Defendants United

States of America, et al., and Intervenor-Defendants FIEL Houston and Refugee and Immigrant

Center for Education and Legal Services (the “Parties”), through undersigned counsel, stipulate to

the dismissal of this action and that each Party will bear its own costs.

       The object of all of Plaintiff’s claims, the 100-day pause on the removal of aliens already

subject to a final order of removal, previously enjoined by the Court, has expired.

       In light of the fact that the 100-day pause on removals has lapsed, Defendants further

stipulate that they do not intend to extend or reinstate such a policy requiring a pause on the

execution of final orders of removal for noncitizens. See DHS Statement on the Expiration of 100-

day Removal Pause, available at https://www.dhs.gov/news/2021/05/06/dhs-statement-expiration-

100-day-removal-pause.
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       Intervenor-Defendants stipulate that they do not intend, in order to extend or reinstate the

challenged pause on the execution of final orders of removal for any noncitizens, to challenge any

administrative action or inaction by Defendants.

Date: May 20, 2021                        Stipulated and agreed by:

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                                   CERTIFICATE OF SERVICE

        I certify that a true and accurate copy of the foregoing document was filed electronically
(via CM/ECF) on May 20, 2021, which automatically serves all counsel of record who are
registered to receive notices in this case.

                                             /s/Patrick K. Sweeten
                                             PATRICK K. SWEETEN




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